~ Case 7:21-cv-02777-VB-

 

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Charles L. Brieant - - Te } }
United States Courthouse yaeat 12. ae a |
 Squthern District of New York ’ oo TSDC.
300 Quarropas Street W.P.
White Plains, N.Y. 10601 . oo
_ Case # ‘al cy { 27 FT} VA)
against , -
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